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     KRISHNA MV, INC. f/k/a KRISHNA HOTELS MOUNTAIN VIEW LLC
13

14                               UNITED STATES DISTRICT COURT
15                    NORTHERN DISTRICT OF CALIFORNIA / OAKLAND
16

17   THERESA BROOKE, a married                         Case No: 4:19-cv-06854-YGR
     woman dealing with her sole and
18   separate claim,
                                                       JOINT STIPULATION FOR
19                            Plaintiff,               DISMISSAL PURSUANT TO
                                                       F.R.C.P. 41 (a)(1)(A)(ii)
20           v.
21   KRISHNA HOTELS MOUNTAIN                           Complaint Filed: October 22, 2019
     VIEW LLC, a California limited                    Trial Date:   None Set
22   liability company dba Hotel Fairchild,
23                            Defendant.
24

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26           Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and between
27   the parties hereto that this action may be dismissed with prejudice as to all parties;
28   each party to bear her/its own attorneys’ fees and costs. This stipulation is made as
                                                      1
                     JOINT STIPULATION FOR DISMISSAL PURSUANT TO F.R.C.P. 41 (a)(1)(A)(ii)
     FP 38661534.1
       Case 4:19-cv-06854-YGR Document 32 Filed 09/17/20 Page 2 of 4



 1   the matter has been resolved to the satisfaction of all parties.
 2   Dated: September 17, 2020                             THE STROJNIK FIRM, LLC
 3
                                                   By: /s/ P. KRISTOPHER STROJNIK_
 4                                                     P. KRISTOFER STROJNIK
 5
                                                       Attorneys for Plaintiff
                                                       THERESA BROOKE
 6

 7    Dated: September 17, 2020                           Respectfully submitted,
 8                                                        FISHER & PHILLIPS LLP
 9
10                                                 By: /s/ JOHN A. MAVROS___________
                                                       JOHN A. MAVROS
11                                                     BRET MARTIN
                                                       Attorneys for Defendant,
12                                                     KRISHNA MV, INC. f/k/a KRISHNA
                                                       HOTELS MOUNTAIN VIEW LLC
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                     JOINT STIPULATION FOR DISMISSAL PURSUANT TO F.R.C.P. 41 (a)(1)(A)(ii)
     FP 38661534.1
       Case 4:19-cv-06854-YGR Document 32 Filed 09/17/20 Page 3 of 4



 1                            SIGNATURE CERTIFICATION
 2

 3           I hereby certify that the content of this document is acceptable to P. Kristofer
 4   Strojnik, counsel for Plaintiff Theresa Brooke, and that I have obtained
 5   authorization to affix his electronic signature to this document.
 6

 7    Dated: September 17, 2020                      Respectfully submitted,
 8                                                   FISHER & PHILLIPS LLP
 9
10                                            By: /s/ JOHN A. MAVROS__________
                                                  JOHN A. MAVROS
11                                                BRET MARTIN
                                                  Attorneys for Defendant,
12                                                KRISHNA MV, INC. f/k/a KRISHNA
                                                  HOTELS MOUNTAIN VIEW LLC
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                                                 1
                                    SIGNATURE CERTIFICATION
     FP 38661534.1
      Case 4:19-cv-06854-YGR Document 32 Filed 09/17/20 Page 4 of 4



 1                              CERTIFICATE OF SERVICE
 2         I, the undersigned, am employed in the County of Orange, State of
     California. I am over the age of 18 and not a party to the within action; am
 3   employed with the law offices of Fisher & Phillips LLP and my business address
     is 2050 Main Street, Suite 1000, Irvine, California 92614.
 4
          On September 17, 2020 I served the foregoing document entitled JOINT
 5   STIPULATION FOR DISMISSAL PURSUANT TO F.R.C.P. 41 (a)(1)(A)(ii) on all
     the appearing and/or interested parties in this action by placing  the original
 6   a true copy thereof enclosed in sealed envelope(s) addressed as follows:
 7
      P. Kristofer Strojnik, Esq.                Attorneys for Plaintiff,
 8    THE STROJNIK FIRM LLC                      THERESA BROOKE
      Esplanade Center III, Suite 700
 9    2415 East Camelback Road                   Tel: (602) 510-9409
      Phoenix, Arizona 95016                     Email: pstrojnik@strojniklaw.com
10

11        [by ELECTRONIC SUBMISSION] - I served the above listed
12
           document(s) described via the United States District Court’s Electronic
           Filing Program on the designated recipients via electronic transmission
13
           through the CM/ECF system on the Court’s website. The Court’s CM/ECF
           system will generate a Notice of Electronic Filing (NEF) to the filing party,
14
           the assigned judge, and any registered users in the case. The NEF will
           constitute service of the document(s). Registration as a CM/ECF user
15
           constitutes consent to electronic service through the court’s transmission
           facilities.
16         I declare that I am employed in the office of a member of the bar of this
17
     Court at whose direction the service was made.

18         Executed September 17, 2020 at Irvine, California.
19           Katherine Ramirez             By: /s/ KATHERINE RAMIREZ
20                 Print Name                                      Signature


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                                             2
                                   CERTIFICATE OF SERVICE
